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                                                                                  #16-17-197
                                      PLEASE POST                                                  Deft's Exhibit

                                                   Internal
                                                                                                         F
                                                                                                5/28/21 - K. Reed
                                 Poughkeepsie City School District
                                            11 College A venue
                                          Poughkeepsie, NY 12603


                  Extended School Year Summer Program for Students
                                   With Disabilities


Position:                  8 - Teaching Assistants for 6-week summer program
                           located at Morse Elementary.

Qualifications:           Teaching Assistant Certificate

Responsibilities: Support summer school teaching in implementing curriculum and
                          instructional strategies.

Effective Date:            6-Week Summer Program
                           July 5 - August 15
                           Monday through Friday from 8:00 a.m. - 1:30 p.m.

Salary:                   In accordance with paraprofessional contract

Application
Deadline:                 May 2, 2017

Send Letter of Interest to:                 Ms. Yvonne Palmer
Include name, home address,                Director of Elementary Instructional Support
home phone#, current school                Office of Family and Student Support Services
                                           55 College Avenue          ~)
                                           Poughkeepsie, NY 12603 ~


Previous Extended School Year Staff members that are interested in working for the program
must submit a letter of interest.

Internal applicants may apply with only a letter of interest including permission for the screening
committee coordinator to review their personnel files. They are also welcome to submit any
additional documentation to support their candidacy.


The Poughkeepsie City School District is an Equal Opportunity Employer and does not discriminate on
the basis of sex, race, religion, national origin, disability, age, or marital status; nor does it apply any other
arbitrary measure which would tend to deprive persons of their constitutional rights.
